






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS




LV RUNNELS,


                            Appellant,


v.


AMERICAN RED CROSS, AMERICAN
RED CROSS CHISHOLM TRAIL
CHAPTER, CITY OF FORT WORTH,
TEXAS,



                            Appellees.
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No. 08-11-00211-CV



Appeal from the


342nd District Court


of Tarrant County, Texas


(TC# 342-243320-10)


MEMORANDUM  OPINION


	The clerk's record for this appeal was due on August 4, 2011.  The district clerk notified the
Clerk of this Court that Appellant failed to pay for the record.  Consequently, the clerk's record has
not been filed.  On August 5, 2011, the Clerk of this Court notified the parties that the Court intended
to dismiss the appeal for want of prosecution unless they showed grounds within ten days for
continuing the appeal.  The notice advised the parties that if no response was received, the appeal
could be dismissed without further notice.  No one has responded to the notice.

	When the clerk's record is not filed because the appellant failed to pay for it, we may dismiss
the appeal for want of prosecution, unless the appellant cures the deficiency or shows that he is
entitled to proceed without payment of costs.  Tex. R. App. P. 37.3(b).  Appellant has been notified
of the deficiency, but has neither cured it nor shown his entitlement to proceed without payment of
costs.  Accordingly, we dismiss the appeal for want of prosecution.


						GUADALUPE RIVERA, Justice

August 31, 2011


Before Chew, C.J., McClure, and Rivera, JJ.


